                      Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 1 of 26


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Chesapeake Energy Corporation


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          6100 North Western Avenue
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box
                                          Oklahoma City, Oklahoma 73118
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Oklahoma County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 www.chk.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                     Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 2 of 26
Debtor            Chesapeake Energy Corporation                                   Case number (if known)
           Name



                                         A. Check One:
7.   Describe debtor’s business
                                         ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☒ None of the above

                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         2111 (Oil and Gas Extraction)

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

      A debtor who is a “small           ☒ Chapter 11. Check all that apply:
      business debtor” must
                                                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      check the first sub-box. A                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      debtor as defined in §                                   affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      1182(1) who elects to                                    balance sheet, statement of operations, cash-flow statement, and federal income tax
      proceed under subchapter                                 return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      V of chapter 11 (whether or                              1116(1)(B).
      not the debtor is a “small
                                                             ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      business debtor”) must
                                                               liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
      check the second sub-box.                                and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                               selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                               statement, and federal income tax return or if any of these documents do not exist,
                                                               follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             ☐ A plan is being filed with this petition.

                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                               Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                         ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No        District
   filed by or against the debtor     ☐ Yes.                                         When     MM/DD/YYYY        Case number
   within the last 8 years?
                                                  District                           When                       Case number
     If more than 2 cases, attach a                                                           MM/DD/YYYY
     separate list.




     Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 2
                        Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 3 of 26
    Debtor           Chesapeake Energy Corporation                                      Case number (if known)
              Name



    10. Are any bankruptcy cases            ☐ No
        pending or being filed by a         ☒ Yes.                                                                     Relationship     Affiliate
                                                         Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                         District     Southern District of Texas
       List all cases. If more than 1,                                                                                 When             06/28/2020
       attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No1
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.         Insurance agency

                                                                    Contact name
                                                                    Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.




1      Although the Debtor is not aware of any definition of “imminent and identifiable hazard” as used in this form, the Debtor does not believe it owns or
       possesses any real or personal property that poses or is alleged to pose a threat of imminent and identifiable hazard to the public health or safety.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                        Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 4 of 26
    Debtor           Chesapeake Energy Corporation                                       Case number (if known)
              Name



    14. Estimated number of              ☐       1-49                       ☐     1,000-5,000                            ☐    25,001-50,000
        creditors1                       ☐       50-99                      ☐     5,001-10,000                           ☐    50,001-100,000
                                         ☐       100-199                    ☐     10,001-25,000                          ☒    More than 100,000
                                         ☐       200-999

    15. Estimated assets                 ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                         ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☒    $10,000,000,001-$50 billion
                                         ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

    16. Estimated liabilities            ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                         ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☒    $10,000,000,001-$50 billion
                                         ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐    More than $50 billion

                       Request for Relief, Declaration, and Signatures

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

    17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
        authorized representative of         petition.
        debtor
                                             I have been authorized to file this petition on behalf of the debtor.
                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.

                                     I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on         06/28/2020
                                                                  MM/ DD / YYYY


                                                  /s/ Domenic J. Dell'Osso, Jr.                                      Domenic J. Dell'Osso, Jr.
                                                  Signature of authorized representative of debtor                Printed name

                                                  Title    Executive Vice President and Chief
                                                           Financial Officer




    18. Signature of attorney                     /s/ Matthew D. Cavenaugh                                       Date        06/28/2020
                                                  Signature of attorney for debtor                                           MM/DD/YYYY



                                                  Matthew D. Cavenaugh
                                                  Printed name
                                                  Jackson Walker L.L.P.
                                                  Firm name
                                                  1401 McKinney Street, Suite 1900
                                                  Number                 Street
                                                  Houston                                                                Texas             77010
                                                  City                                                                   State               ZIP Code
                                                  (713) 752-4200                                                         mcavenaugh@jw.com
                                                  Contact phone                                                             Email address
                                                  24062656                                                Texas
                                                  Bar number                                          State



1      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
                      Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 5 of 26

Official Form 201A (12/15)

                                             IN THE UNITED STATES BANKRUPTCY COURT
                                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION

                                                                            )
       In re:                                                               )   Chapter 11
                                                                            )
       CHESAPEAKE ENERGY CORPORATION,                                       )   Case No. 20-___________(___)
                                                                            )
                                         Debtor.                            )
                                                                            )
           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

             1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
         number is   001-13726

             2. The following financial data is the latest available information and refers to the debtor’s condition on
         December 31, 2019


                (a)   Total assets                                              $   16,193,000,000
                (b)   Total debts (including debts listed in 2.c., below)       $   11,792,000,000
                (c)   Debt securities held by more than 500 holders                 N/A
                                                                                                      Approximate
                                                                                                      number of
                                                                                                      holders:
                secured     ☐    unsecured     ☐    subordinated      ☐     $
                secured     ☐    unsecured     ☐    subordinated      ☐     $
                secured     ☐    unsecured     ☐    subordinated      ☐     $
                secured     ☐    unsecured     ☐    subordinated      ☐     $
                secured     ☐    unsecured     ☐    subordinated      ☐     $

                                                                                                       4.5% Preferred Stock – 2,558,900
                (d)   Number of shares of preferred stock1                                             5% Preferred Stock – 1,810,667
                                                                                                       5.75% Preferred Stock – 928,679
                                                                                                       5.75A% Preferred Stock – 477,242
                (e)   Number of shares of common stock2                                                9,783,101


             Comments, if any: Chesapeake Energy Corporation does not and cannot know the precise number of beneficial
         holders of any of the debt securities it has issued and does not believe that any such securities are held by more than
         500 holders.


              3. Brief description of debtor’s business: Chesapeake owns and operates valuable oil and natural gas assets in
         certain key U.S. hydrocarbon producing states, including Oklahoma, Texas, Louisiana, Pennsylvania, and Wyoming.



              4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
         voting securities of debtor:
         The Carlyle Group L.P. (8.84%); The Vanguard Group (8.35%); Franklin Resources, Inc. (7.69%);
         State Street Corporation (5.36%)




1   As of May 7, 2020

2   As of May 7, 2020
                 Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 6 of 26




 Fill in this information to identify the case:
                                                                             ,
 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                                          ☐ Check if this is an
 Case number (if known):                                Chapter   11                                        amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Chesapeake Energy Corporation.

    Brazos Valley Longhorn Finance Corp.                                 CHK NGV Leasing Company, L.L.C.
    Brazos Valley Longhorn, L.L.C.                                       CHK Utica, L.L.C.
    Burleson Sand LLC                                                    Compass Manufacturing, L.L.C.
    Burleson Water Resources, LLC                                        EMLP, L.L.C.
    Chesapeake AEZ Exploration, L.L.C.                                   Empress Louisiana Properties, L.P.
    Chesapeake Appalachia, L.L.C.                                        Empress, L.L.C.
    Chesapeake E&P Holding, L.L.C.                                       Esquisto Resources II, LLC
    Chesapeake Energy Corporation                                        GSF, L.L.C.
    Chesapeake Energy Louisiana, LLC                                     MC Louisiana Minerals, L.L.C.
    Chesapeake Energy Marketing, L.L.C.                                  MC Mineral Company, L.L.C.
    Chesapeake Exploration, L.L.C.                                       MidCon Compression, L.L.C.
    Chesapeake Land Development Company, L.L.C.                          Nomac Services, L.L.C.
    Chesapeake Louisiana, L.P.                                           Northern Michigan Exploration Company, L.L.C.
    Chesapeake Midstream Development, L.L.C.                             Petromax E&P Burleson, LLC
    Chesapeake NG Ventures Corporation                                   Sparks Drive SWD, Inc.
    Chesapeake Operating, L.L.C.                                         WHE AcqCo., LLC
    Chesapeake Plains, LLC                                               WHR Eagle Ford LLC
    Chesapeake Royalty, L.L.C.                                           WildHorse Resources II, LLC
    Chesapeake VRT, L.L.C.                                               WildHorse Resources Management Company, LLC
    Chesapeake-Clements Acquisition, L.L.C.                              Winter Moon Energy Corporation
    CHK Energy Holdings, Inc.
                                   Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 7 of 26


    Fill in this information to identify the case:
    Debtor name Chesapeake Energy Corporation et al.
    United States Bankruptcy Court for the: Southern District of Texas
    Case number (If known): ___________                                                                                                               Check if this is an
                                                                                                                                                       amended filing
    Official Form 204

    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
    12/15


    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity
    who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among
    the holders of the 50 largest unsecured claims.

    Name of creditor and complete mailing address, Name, telephone number, and email address of creditor          Nature of the       Indicate if claim   Amount of unsecured claim
    including zip code                             contact                                                        claim (for         is contingent,       If the claim is fully unsecured, fill in only
                                                                                                                  example, trade     unliquidated, or     unsecured claim amount. If claim is partially
                                                                                                                  debts, bank loans, disputed             secured, fill in total claim amount and deduction for
                                                                                                                  professional                            value of collateral or setoff to calculate unsecured
                                                                                                                  services, and                           claim.
                                                                                                                  government                              Total claim, if Deduction for Unsecured claim
                                                                                                                  contracts)                              partially         value of
                                                                                                                                                          secured           collateral or
                                                                                                                                                                            setoff
   DEUTSCHE BANK TRUST COMPANY
   AMERICAS
                                                        Attn: James Von Moltke
   Attention: Corporates Deal Team Manager –
                                                        Title: CFO                                                 5.5% convertible
   Chesapeake Energy Corporation
 1                                                      Phone: (212) 250-2500                                      senior notes due                                                         $1,064,225,000
   Trust & Agency Services
                                                        Email: james.vonmoltke@db.com                                   2026
   60 Wall Street, 16th Floor
                                                        Fax: (732) 578-4635
   Mail Stop: NYC60-1630
   New York, NY 10005
   DEUTSCHE BANK TRUST COMPANY
   AMERICAS
                                                        Attn: James Von Moltke
   Attention: Corporates Deal Team Manager –
                                                        Title: CFO
   Chesapeake Energy Corporation                                                                                  7.00% senior notes
 2                                                      Phone: (212) 250-2500                                                                                                                $623,595,000
   Trust & Agency Services                                                                                            due 2024
                                                        Email: james.vonmoltke@db.com
   60 Wall Street, 16th Floor
                                                        Fax: (732) 578-4635
   Mail Stop: NYC60-1630
   New York, NY 10005
   DEUTSCHE BANK TRUST COMPANY
   AMERICAS
                                                        Attn: James Von Moltke
   Attention: Corporates Deal Team Manager –
                                                        Title: CFO
   Chesapeake Energy Corporation                                                                                    4.875% senior
 3                                                      Phone: (212) 250-2500                                                                                                                $271,759,000
   Trust & Agency Services                                                                                          notes due 2022
                                                        Email: james.vonmoltke@db.com
   60 Wall Street, 16th Floor
                                                        Fax: (732) 578-4635
   Mail Stop: NYC60-1630
   New York, NY 10005
   DEUTSCHE BANK TRUST COMPANY
   AMERICAS
                                                        Attn: James Von Moltke
   Attention: Corporates Deal Team Manager –
                                                        Title: CFO
   Chesapeake Energy Corporation                                                                                  8.00% senior notes
 4                                                      Phone: (212) 250-2500                                                                                                                $252,747,000
   Trust & Agency Services                                                                                            due 2027
                                                        Email: james.vonmoltke@db.com
   60 Wall Street, 16th Floor
                                                        Fax: (732) 578-4635
   Mail Stop: NYC60-1630
   New York, NY 10005
   DEUTSCHE BANK TRUST COMPANY
   AMERICAS
                                                        Attn: James Von Moltke
   Attention: Corporates Deal Team Manager –
                                                        Title: CFO
   Chesapeake Energy Corporation                                                                                  8.00% senior notes
 5                                                      Phone: (212) 250-2500                                                                                                                $246,474,000
   Trust & Agency Services                                                                                            due 2025
                                                        Email: james.vonmoltke@db.com
   60 Wall Street, 16th Floor
                                                        Fax: (732) 578-4635
   Mail Stop: NYC60-1630
   New York, NY 10005
   THE BANK OF NEW YORK MELLON TRUST                    Attn: Thomas P. Gibbons
   COMPANY, N.A.                                        Title: CEO
                                                                                                                    6.625% senior
 6 2 N. LaSalle Street                                  Phone: (212) 495-1784                                                                                                                $176,483,000
                                                                                                                    notes due 2020
   Suite 1020                                           Email: todd.gibbons@bnymellon.com
   Chicago, IL 60602                                    Fax: (312) 827-8542
   DEUTSCHE BANK TRUST COMPANY
   AMERICAS
                                                        Attn: James Von Moltke
   Attention: Corporates Deal Team Manager –
                                                        Title: CFO
   Chesapeake Energy Corporation                                                                                  5.75% senior notes
 7                                                      Phone: (212) 250-2500                                                                                                                $167,743,000
   Trust & Agency Services                                                                                            due 2023
                                                        Email: james.vonmoltke@db.com
   60 Wall Street, 16th Floor
                                                        Fax: (732) 578-4635
   Mail Stop: NYC60-1630
   New York, NY 10005




Official Form 204                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                                          Page 1
                                 Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 8 of 26
Debtor      Chesapeake Energy Corporation et al.,                                                              Case number (if known)_____________________________________
     Name of creditor and complete mailing address, Name, telephone number, and email address of creditor   Nature of the       Indicate if claim   Amount of unsecured claim
     including zip code                             contact                                                 claim (for         is contingent,       If the claim is fully unsecured, fill in only
                                                                                                            example, trade     unliquidated, or     unsecured claim amount. If claim is partially
                                                                                                            debts, bank loans, disputed             secured, fill in total claim amount and deduction for
                                                                                                            professional                            value of collateral or setoff to calculate unsecured
                                                                                                            services, and                           claim.
                                                                                                            government                              Total claim, if Deduction for Unsecured claim
                                                                                                            contracts)                              partially         value of
                                                                                                                                                    secured           collateral or
                                                                                                                                                                      setoff
   THE BANK OF NEW YORK MELLON TRUST                Attn: Thomas P. Gibbons
   COMPANY, N.A.                                    Title: CEO
                                                                                                              6.125% senior
 8 2 N. LaSalle Street                              Phone: (212) 495-1784                                                                                                              $166,350,000
                                                                                                              notes due 2021
   Suite 1020                                       Email: todd.gibbons@bnymellon.com
   Chicago, IL 60602                                Fax: (312) 827-8542
   DEUTSCHE BANK TRUST COMPANY
   AMERICAS
                                                    Attn: James Von Moltke
   Attention: Corporates Deal Team Manager –
                                                    Title: CFO
   Chesapeake Energy Corporation                                                                              5.375% senior
 9                                                  Phone: (212) 250-2500                                                                                                              $126,888,000
   Trust & Agency Services                                                                                    notes due 2021
                                                    Email: james.vonmoltke@db.com
   60 Wall Street, 16th Floor
                                                    Fax: (732) 578-4635
   Mail Stop: NYC60-1630
   New York, NY 10005
   DEUTSCHE BANK TRUST COMPANY
   AMERICAS
                                                    Attn: James Von Moltke
   Attention: Corporates Deal Team Manager –
                                                    Title: CFO
   Chesapeake Energy Corporation                                                                            7.5% senior notes
10                                                  Phone: (212) 250-2500                                                                                                              $118,937,000
   Trust & Agency Services                                                                                      due 2026
                                                    Email: james.vonmoltke@db.com
   60 Wall Street, 16th Floor
                                                    Fax: (732) 578-4635
   Mail Stop: NYC60-1630
   New York, NY 10005
   THE BANK OF NEW YORK MELLON TRUST                Attn: Thomas P. Gibbons
   COMPANY, N.A.                                    Title: CEO
                                                                                                              6.875% senior
11 2 N. LaSalle Street                              Phone: (212) 495-1784                                                                                                               $73,598,000
                                                                                                              notes due 2020
   Suite 1020                                       Email: todd.gibbons@bnymellon.com
   Chicago, IL 60602                                Fax: (312) 827-8542
   DEUTSCHE BANK TRUST COMPANY
   AMERICAS
                                                    Attn: James Von Moltke
   Attention: Corporates Deal Team Manager –
                                                    Title: CFO
   Chesapeake Energy Corporation                                                                            8.00% senior notes
12                                                  Phone: (212) 250-2500                                                                                                               $45,861,000
   Trust & Agency Services                                                                                      due 2026
                                                    Email: james.vonmoltke@db.com
   60 Wall Street, 16th Floor
                                                    Fax: (732) 578-4635
   Mail Stop: NYC60-1630
   New York, NY 10005
                                                    Attn: Jeff Miller
   HALLIBURTON ENERGY SERVICES INC
                                                    Title: CEO
13 3000 N. Sam Houston Pkwy E.                                                                                Trade Payables                                                            $21,104,132
                                                    Phone: (281) 871-4000
   Houston, TX 77032
                                                    Email: jeff.miller@halliburton.com
                                                    Attn: Alan S. Armstrong
     WILLIAMS COMPANIES INC
                                                    Title: President & CEO
     One Williams Center
14                                                  Phone: (918) 573-2000                                     Trade Payables                                                            $13,854,145
     PO BOX 2400
                                                    Email: alan.armstrong@williams.com
     Tulsa, OK 74102-2400
                                                    Fax: (901) 761-1092
                                                    Attn: Brent Secrest
   ENTERPRISE CRUDE OIL LLC
                                                    Title: EVP & Chief Commercial Officer
15 1100 Louisiana St                                                                                          Trade Payables       Unliquidated                                          $6,469,804
                                                    Phone: (713) 381-6500
   Houston, TX 77002
                                                    Email:
   EAGLE FORD GATHERING LLC                         Attn: Bruce Darter
   1999 Bryan St.                                   Title: VP
16                                                                                                            Trade Payables       Unliquidated                                          $4,984,951
   Ste. 900                                         Phone: (713) 369-8783
   Dallas, TX 75201                                 Email: bruce_darter@kindermorgan.com
   HI-CRUSH PARTNERS LP                             Attn: Phil McCormick
   1330 Post Oak Blvd.                              Title: CFO
17                                                                                                            Trade Payables                                                             $4,071,065
   Suite 600                                        Phone: (713) 980-6200
   Houston, TX 77056                                Email: pmccormick@hicrush.com
                                                    Attn: Lorenzo Simonelli
   BAKER HUGHES A GE COMPANY LLC
                                                    Title: CEO
18 17021 Aldine Westfield Rd                                                                                  Trade Payables                                                             $3,586,155
                                                    Phone: (713) 439-8600
   Houston, TX 77073
                                                    Email: Lorenzo.Simonelli@bakerhughes.com
                                                    Attn: Olivier Le Peuch
   SCHLUMBERGER TECHNOLOGY CORP
                                                    Title: CEO
19 3600 Briarpark Drive                                                                                       Trade Payables                                                             $2,630,025
                                                    Phone: (281) 285-8500
   Houston, TX 77042
                                                    Email: lepeuch1@slb.com
                                                    Attn: Steve Tait
   B&L PIPECO SERVICES INC
                                                    Title: CEO
20 20465 Texas 249 Access Rd #200                                                                             Trade Payables                                                             $2,354,421
                                                    Phone: (281) 955-3500
   Houston, TX 77070
                                                    Email: Steve.Tait@blpipeco.com




Official Form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                                       Page 2
                                 Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 9 of 26
Debtor      Chesapeake Energy Corporation et al.,                                                              Case number (if known)_____________________________________
     Name of creditor and complete mailing address, Name, telephone number, and email address of creditor   Nature of the       Indicate if claim   Amount of unsecured claim
     including zip code                             contact                                                 claim (for         is contingent,       If the claim is fully unsecured, fill in only
                                                                                                            example, trade     unliquidated, or     unsecured claim amount. If claim is partially
                                                                                                            debts, bank loans, disputed             secured, fill in total claim amount and deduction for
                                                                                                            professional                            value of collateral or setoff to calculate unsecured
                                                                                                            services, and                           claim.
                                                                                                            government                              Total claim, if Deduction for Unsecured claim
                                                                                                            contracts)                              partially         value of
                                                                                                                                                    secured           collateral or
                                                                                                                                                                      setoff
                                                    Attn: Andrew Hendricks
   PATTERSON-UTI DRILLING COMPANY LLC
                                                    Title: CEO
   10713 West Sam Houston Parkway North
21                                                  Phone: (281) 765-7100                                     Trade Payables                                                             $2,282,158
   Suite 800
                                                    Email: andy.hendricks@patenergy.com
   Houston, TX 77064
                                                    Fax: (281) 765-7175
                                                    Attn: Richard Alario
   DNOW LP                                          Title: CEO
22 7402 N. Eldridge Parkway                         Phone: (281) 823-4700                                     Trade Payables                                                             $2,154,723
   Houston, TX 77041                                Email: richard.alario@dnow.com
                                                    Fax: (800) 228-2893
                                                    Attn: Jody Kindred
   MOMENTUM PRESSURE CONTROL LLC                    Title: President
23 199 Corporate Rd                                 Phone: (903) 643-3700                                     Trade Payables                                                             $1,644,392
   Longview, TX 75603                               Email: jody@axisenergyservices.com
                                                    Fax: (903) 643-3101
                                                    Attn: Cameron Wagner
   KUSTOM KONCEPTS INC                              Title: President
24 1351 N. Derrick Dr.                              Phone: (307) 472-0818                                     Trade Payables                                                             $1,636,771
   Casper, WY 82604                                 Email: cameron@kustommfg.com
                                                    Fax: (307) 472-0444
     U.S. BANK NATIONAL ASSOCIATION                 Attn: Andrew Cecere
     8 Greenway Plaza, Suite 1100                   Title: President & CEO                                    6.875% senior
25                                                                                                                                                                                       $1,577,000
     Corporate Trust Services                       Phone: (651) 466-3000                                     notes due 2025
     Houston , TX 77046                             Email: Andrew.Cecere@usbank.com
                                                    Attn: Armando Benavides
     SOUTH TEXAS FENCING & TRENCHING
                                                    Title: CEO
     SERVICES
26                                                  Phone: (972) 367-3533                                     Trade Payables                                                             $1,503,625
     3248 W Highway 44
                                                    Email: Benavides_armando@yahoo.com
     Alice, TX 78332
                                                    Fax: (361) 661-1724
     EAGLE FORD PIPELINE LLC                        Attn: Jeremy Goebel
     333 Clay Street                                Title: EVP, Commercial
27                                                                                                            Trade Payables       Unliquidated                                          $1,500,891
     Suite 1600                                     Phone: (713) 646-4100
     Houston, TX 77002                              Email: jlgoebel@paalp.com
                                                    Attn: Justin Taylor
     PINNERGY LTD
                                                    Title: CFO
     111 Congress Avenue
28                                                  Phone: (512) 343-8880                                     Trade Payables                                                             $1,457,070
     Suite 2020
                                                    Email: jtaylor@pinnergy.com
     Austin, TX 78701
                                                    Fax: (512) 343-8885
                                                    Attn: Mason Duncan
   TEXAS FUELING SERVICES INC                       Title: CEO
29 4220 Laura Koppe                                 Phone: (281) 443-2336                                     Trade Payables                                                             $1,367,717
   Houston, TX 77016-5029                           Email: mason.duncan@texasfueling.com
                                                    Fax: (832) 203-5954
                                                    Attn: Elijio V. Serrano
   TETRA TECHNOLOGIES
                                                    Title: CFO
30 24955 Interstate 45 Nort                                                                                   Trade Payables                                                             $1,274,115
                                                    Phone: (281) 367-1983
   The Woodlands, TX 77380
                                                    Email: eserrano@tetratec.com
                                                    Attn: James Spexarth
   COMPLETE ENERGY SERVICES
                                                    Title: CAO
   1001 Louisiana Street
31                                                  Phone: (713) 654-2200                                     Trade Payables                                                             $1,243,600
   Suite 2900
                                                    Email: james.spexarth@superiorenergy.com
   Houston, TX 77002
                                                    Fax: (713) 654-2205
                                                    Attn: Bryon Musick
   FLYNN ENERGY TRANSPORT INC                       Title: Controller
32 342 East Macedonia Rd                            Phone: (570) 265-1431                                     Trade Payables                                                             $1,139,747
   Towanda, PA 18848                                Email: controller@flynnenergy1.net
                                                    Fax: (570) 265-1449
   PARK ENERGY SERVICES LLC                         Attn: John D. Seldenrust
   1015 North Broadway Avenue                       Title: CEO
33                                                                                                            Trade Payables                                                             $1,029,340
   Suite 301                                        Phone: (405) 896-3169
   Oklahoma City, OK 73102                          Email: jseldenrust@parkenergyservices.com
   SEABOARD INTERNATIONAL INC                       Attn: Terri Conner
   13822 Furman Road                                Title: Executive Assistant to President
34                                                                                                            Trade Payables                                                             $1,001,502
   Suite J                                          Phone: (713) 644-3535
   Houston, TX 77047                                Email: terri.conner@mail.weir
   USA COMPRESSION PARTNERS LLC                     Attn: Jim Jones
   111 Congress Avenue                              Title: VP Sales
35                                                                                                            Trade Payables                                                             $980,314
   Suite 2400                                       Phone: (412) 600-9026
   Austin, TX 78701                                 Email: jjones@usacompression.com




Official Form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                                       Page 3
                                     Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 10 of 26
Debtor       Chesapeake Energy Corporation et al.,                                                                             Case number (if known)_____________________________________
      Name of creditor and complete mailing address, Name, telephone number, and email address of creditor                  Nature of the       Indicate if claim      Amount of unsecured claim
      including zip code                             contact                                                                claim (for         is contingent,          If the claim is fully unsecured, fill in only
                                                                                                                            example, trade     unliquidated, or        unsecured claim amount. If claim is partially
                                                                                                                            debts, bank loans, disputed                secured, fill in total claim amount and deduction for
                                                                                                                            professional                               value of collateral or setoff to calculate unsecured
                                                                                                                            services, and                              claim.
                                                                                                                            government                                 Total claim, if Deduction for Unsecured claim
                                                                                                                            contracts)                                 partially         value of
                                                                                                                                                                       secured           collateral or
                                                                                                                                                                                         setoff
                                                           Attn: Timothy Jimenez
    HAMMER DOWN OILFIELD SERVICES LLC
                                                           Title: Director
 36 16731 Huebner Rd.                                                                                                         Trade Payables                                                                $940,667
                                                           Phone: (361) 433-8383
    San Antonio, TX 78248
                                                           Email: tjimenez@hdoservices.com
                                                           Attn: Jason Burger
    ROLFSON OIL LLC
                                                           Title: Owner
 37 2414 Schilke Dr                                                                                                           Trade Payables                                                                $940,617
                                                           Phone: (954) 410-3235
    Watford City, ND 58854
                                                           Email: jburger@rolfsonoil.com
                                                           Attn: Gregg Piontek
    NEWPARK FLUIDS SYSTEMS
                                                           Title: CFO
 38 21920 Merchants Way                                                                                                       Trade Payables                                                                $903,166
                                                           Phone: (281) 754-8600
    Katy, TX 77449
                                                           Email: greggpiontek@newpark.com
    CHIEF OIL & GAS LLC                                    Attn: John Hinton
    8111 Westchester Drive                                 Title: CFO
 39                                                                                                                            JIB Payables                                                                 $882,630
    Suite 900                                              Phone: (214) 265-9590
    Dallas, TX 75225                                       Email: jhinton@chiefog.com
    CACTUS WELLHEAD LLC                                    Attn: Scott Bender
    920 Memorial City Way                                  Title: CEO
 40                                                                                                                           Trade Payables                                                                $858,654
    Suite 300                                              Phone: (713) 626-8800
    Houston, TX 77024                                      Email: scott.bender@cactuswellhead.com
    KEY ENERGY SERVICES LLC                                Attn: Rob Saltiel
    1301 McKinney                                          Title: CEO
 41                                                                                                                           Trade Payables                                                                $791,665
    Ste 1800                                               Phone: (713) 651-4300
    Houston, TX 77010                                      Email: rsaltiel@keyenergy.com
                                                           Attn: Bill Blair
    ENERSTAR RENTALS AND SERVICES LTD
                                                           Title: Vice President – Operations
 42 3377 South Main Street                                                                                                    Trade Payables                                                                $785,162
                                                           Phone: (570) 279-1589
    Monahans, TX 79756
                                                           Email: Bill.Blair@enerstarrentals.com
                                                           Attn: Bill Ruark
    SUSQUEHANNA GAS FIELD SERVICES LLC
                                                           Title: Owner
 43 131 Frantz Road, Box 127                                                                                                  Trade Payables                                                                $778,396
                                                           Phone: (570) 499-0139
    Meshoppen, PA 18630
                                                           Email: billr@meshoppenstone.com
                                                           Attn: Rick Roberts
    VALVEWORKS USA INC                                     Title: President
 44 1650 Swan Lake Road                                    Phone: (318) 425-0266                                              Trade Payables                                                                $776,289
    Bossier City, LA 71111                                 Email: rick.roberts@vwusa.us
                                                           Fax: (318) 425-0934
                                                           Attn: Blair Alfred
    CONTROL TECH USA LTD
                                                           Title: CTUSA Operations VP
 45 22025 Route 14                                                                                                            Trade Payables                                                                $757,938
                                                           Phone: (570) 529-6011
    Troy, PA 16947-8790
                                                           Email: balfred@controltechgp.com
                                                           Attn: Roger Schultz
    THRU TUBING SOLUTIONS INC
                                                           Title: Vice President
 46 11515 S. Portland Ave.                                                                                                    Trade Payables                                                                $745,482
                                                           Phone: (405) 692-1900
    Oklahoma City, OK 73170
                                                           Email: Rschultz@thrutubing.com
                                                           Attn: Jean-Pierre Sbraire
      TOTAL E&P USA INC
                                                           Title: CFO
      1201 Louisiana Street                                                                                                                          Disputed &
 47                                                        Phone: (713) 483-5000                                              Trade Payables                                                              Undetermined
      Suite 1800                                                                                                                                    Unliquidated
                                                           Email: jean-pierre.sbraire@total.com
      Houston, TX 77002
                                                           Fax: (713) 647-3003
                                                           Attn: Matt Vining
      GLASS MOUNTAIN PIPELINE LLC
                                                           Title: CEO
      2626 Cole Ave                                                                                                                                  Disputed &
 48                                                        Phone: 214-880-6000                                                   Litigation                                                               Undetermined
      Suite 900                                                                                                                                     Unliquidated
                                                           Email: mvining@nesmidstream.com
      Dallas, TX 75204
                                                           Fax: (405) 606-4534
    DALLAS/FORT WORTH INTERNATIONAL                        Attn: Jim Jackson
    AIRPORT BOARD                                          Title: Project Manager – Gas & Development
                                                                                                                                                     Disputed &
 49 Dallas/Fort Worth International Airport Board          Phone: 972-973-4669                                                   Litigation                                                               Undetermined
                                                                                                                                                    Unliquidated
    P.O. Box 619428                                        Email: jjackson@dfwairport.com
    DFW Airport, TX 75261-9428                             Fax: (972) 973-4601
                                                           Attn: Laurie J. Knox
    DIVERSIFIED GAS & OIL, PLC                             Title: Human Resources Business
                                                                                                                            Legacy Contractual       Disputed &
 50 414 Summers Street                                     Phone: (304) 353-5090                                                                                                                          Undetermined
                                                                                                                               Obligations          Unliquidated
    Charleston, WV 25301                                   Email: lknox@dgoc.com
                                                           Fax: (304) 343-1614

Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities are invoiced.




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                                                    Page 4
              Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 11 of 26



                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    CHESAPEAKE ENERGY CORPORATION,                       )     Case No. 20-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

                                                                                     Type of
                            Registered                                                            Percentage
             Debtor                               Address of Equity Holder            Equity
                              Holder                                                                 Held
                                                                                     Security
   Chesapeake      The Carlyle Group            1001 Pennsylvania Avenue NW
                                                                                     Common          8.84%
Energy Corporation       L.P.                    Washington, DC 20004-2505
   Chesapeake        The Vanguard                  100 Vanguard Boulevard
                                                                                     Common          8.35%
Energy Corporation      Group                      Malvern, PA 19355-2331
   Chesapeake          Franklin                     One Franklin Parkway
                                                                                     Common          7.69%
Energy Corporation Resources, Inc.                  San Mateo, CA 94403
                                                       Channel Center
   Chesapeake               State Street
                                                        1 Iron Street                Common          5.36%
Energy Corporation          Corporation
                                                      Boston, MA 02210




1      This list reflects holders of five percent or more of Chesapeake Energy Corporation’s common stock.
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. By the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing
       the Debtors to File a Consolidated List of the 50 Largest Unsecured Creditors, (II) Waiving the
       Requirement to File a List of Equity Security Holders, and (III) Authorizing the Debtors to Redact Certain
       Personal Identification Information filed contemporaneously herewith, the Debtor is requesting a waiver
       of the requirement under Bankruptcy Rule 1007 to file a list of all of its equity security holders.
          Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 12 of 26



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 CHESAPEAKE ENERGY CORPORATION,                       )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                          Approximate Percentage of Shares Held

                         N/A                                                  N/A
                Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 13 of 26



    Fill in this information to identify the case and this filing:

   Debtor Name          Chesapeake Energy Corporation


   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration: List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Domenic J. Dell'Osso, Jr.
                                       06/28/2020
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Domenic J. Dell'Osso, Jr.
                                                                                 Printed name
                                                                                 Executive Vice President and Chief Financial Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
       Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 14 of 26




                        CHESAPEAKE ENERGY CORPORATION

                                         June 28, 2020

I, James R. Webb, Corporate Secretary of Chesapeake Energy Corporation, an Oklahoma
corporation (the “Company”), do hereby certify the following:

1. I am the duly qualified and appointed Corporate Secretary of the Company.

2. Attached hereto as Exhibit A is a true, correct, and complete copy of the resolutions
   (the “Resolutions”) duly adopted by the board of directors of the Company on behalf of the
   Company and the direct and indirect subsidiaries identified on Schedule 1 to Exhibit A, acting
   pursuant to the Company’s bylaws (as amended, amended and restated, modified,
   supplemented, or replaced from time to time, the “Bylaws”).

3. The Resolutions are not inconsistent with the Bylaws.

4. The Resolutions have not been amended, modified, repealed, or rescinded since adopted, and
   are in full force and effect on and as of the date hereof.

                                    [Signature page follows]
      Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 15 of 26




        IN WITNESS WHEREOF,the undersigned has executed this certificate as of the date fist
written above.                                    ~a            _        i


                                                              R. Webb
                                                              ~l Counsel and Corporate
Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 16 of 26




                          EXHIBIT A
        Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 17 of 26




                  CHESAPEAKE ENERGY CORPORATION
                                    (an Oklahoma corporation)
                                     RESOLUTIONS OF THE
                                    BOARD OF DIRECTORS
                                          June 28, 2020

        WHEREAS, a telephonic meeting (the “Meeting”) of the Board of Directors (the
“Board”) of Chesapeake Energy Corporation, an Oklahoma corporation (the “Company”), on
behalf of the Company and the direct and indirect subsidiaries identified on Schedule 1 attached
hereto (together with the Company, each, a “Filing Entity” and collectively, the “Filing Entities”)
was concluded on June 28, 2020;

       WHEREAS, the Company has the authority as sole stockholder, directly or indirectly, of
each Filing Entity to manage the business and affairs of each Filing Entity and to enter into the
following resolutions on behalf of each Filing Entity;

        WHEREAS, a requisite number of the members of the Board, constituting a quorum,
participated throughout the Meeting. After it was confirmed that the Meeting was duly convened
(and each member of the Board waived any notice requirements in connection therewith), those
participating could hear each other and a quorum of the Board was in attendance, the Meeting was
called to order;

         WHEREAS, the Board reviewed and considered the materials presented by the
Company’s management (the “Management”) and the financial and legal advisors of the
Company (collectively, the “Advisors”), including, but not limited to, materials regarding the
liabilities and liquidity situation of each Filing Entity, the strategic alternatives available to it, and
the effect of the foregoing on each Filing Entity’s business;

        WHEREAS, the Board has had the opportunity to consult with the Management and the
Advisors of the Company and fully consider each of the strategic alternatives available to each
Filing Entity, and the effect of the foregoing on each Filing Entity’s business;

        WHEREAS, the Company has negotiated and entered into a restructuring support
agreement, dated as of June 28, 2020, in the form or substantially in the form submitted to and
approved by the Board on June 28, 2020 (the “Restructuring Support Agreement”), including,
without limitation, those transactions set forth on the term sheet attached thereto
(the “Restructuring Transactions”), which agreement contemplates a comprehensive
restructuring of the Filing Entities’ capital structure on the terms set forth therein;

        WHEREAS, the Company and certain other commitment parties party thereto have
entered into a binding Commitment Letter, dated as of June 28, 2020, (the “Commitment Letter”)
that contemplates (i) the entry into a new Senior Secured Super-Priority Debtor-In-Possession
Credit Agreement, by and among the Company, as borrower, the other Filing Parties, as
guarantors, MUFG Union Bank, N.A., as administrative agent and collateral agent (the “DIP
Agent”), and the lenders and the financial institutions and banks from time to time party thereto
(the “DIP Lenders”) (the “DIP Credit Agreement”), in form or substantially in the form thereof
submitted to the Board, which agreement provides the Company with access to incremental
liquidity and access to cash collateral, as that term is defined in section 363(a) of the Bankruptcy
        Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 18 of 26




Code (the “Cash Collateral”) and which is attached as an exhibit to the Commitment Letter and
(ii) the terms and conditions of an exit facility upon the emergence from the Chapter 11 Cases (as
defined herein), (the “Exit Financing”) as specified in the term sheet attached to the DIP Credit
Agreement (the “Exit Financing Term Sheet”);

        WHEREAS, the Company has requested that the DIP Lenders provide a senior secured
debtor in possession credit facility (the “DIP Facility”) to the Company pursuant to the DIP Credit
Agreement that is automatically convertible into the secured exit facilities described in the Exit
Financing Term Sheet upon the satisfaction (or waiver) of certain conditions specified in the Exit
Financing Term Sheet;

       WHEREAS, the Filing Entities will obtain benefits from the DIP Credit Agreement and
the use of collateral, including Cash Collateral, which is security for certain prepetition secured
lenders (collectively, the “Secured Lenders”), certain of which are parties to the Restructuring
Support Agreement;

        WHEREAS, the obligations of the DIP Lenders to make the extensions of credit to the
Company under the DIP Facility are subject to, among other things, the Company having entered
into the Commitment Letter and entering into the DIP Credit Agreement with the DIP Agent and
the DIP Lenders (the DIP Credit Agreement and the Commitment Letter, collectively, with any
other documents and agreements related thereto or contemplated thereunder, including any
documents, instruments, or certificates as may be reasonably required by the DIP Agent, the “DIP
Credit Agreement Documents”), and otherwise satisfying certain conditions in connection
therewith (the obligations thereunder, the “DIP Obligations”);

        WHEREAS, the Board deems it advisable and in the best interests of the Company, its
creditors and other parties in interest that the Company enter into a certain credit agreement in
accordance with the Exit Financing Term Sheet and in connection with emergence from the
Chapter 11 Cases (the “Exit Financing Credit Agreement”) and grant security interests and/or
guarantees in relation thereto, whereby the DIP Credit Agreement and the DIP Facility thereto is
automatically converted into the Exit Financing Credit Agreement and the Exit Financing thereto
upon the satisfaction (or waiver) of certain conditions, for the purposes of providing ongoing
financing to the Company;

        WHEREAS, the Company and each of the Filing Entities, by entering into the Exit
Financing, will receive direct and indirect benefits from the transactions contemplated by the Exit
Financing Credit Agreement, the terms and conditions of which were negotiated in the Exit
Financing Term Sheet and have been attached as an exhibit to the DIP Credit Agreement and
previously reviewed by the Board and consequently, the Company and each of the Filing Entities
desire to enter into (i) the Exit Financing Credit Agreement, (ii) any related documents, and (iii)
to the extent the Company of any such Filing Entity is a party thereto, the Additional Credit
Documents (as defined below) (collectively, the “Exit Financing Credit Documents”) and the
transactions contemplated thereby;

       WHEREAS, the Company has negotiated and entered into a backstop commitment
agreement, dated on or about the date hereof, in the form or substantially in the form submitted to
the Board (the “Backstop Commitment Agreement”), which authorizes the Company to issue
new common stock pursuant to the terms set forth therein;
                                                2
        Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 19 of 26




        WHEREAS, after careful consideration the Board has determined that the Company’s
entry into the DIP Credit Agreement Documents, the Exit Financing Credit Documents and the
Backstop Commitment Agreement is advisable and in the best interests of the Filing Entities, their
stakeholders, their creditors, and other parties in interest; and

        WHEREAS, following discussion, upon a motion duly made and seconded, the members
of the Board at the Meeting (acting on behalf of the Company, in its own capacity) unanimously
adopted and approved the following recitals and/or resolutions (the “Resolutions”) pursuant to the
organizational documents of the Company and the laws of the state of Oklahoma.

Chapter 11 Filing

         NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is
desirable and in the best interests of the Filing Entities, their stakeholders, their creditors, and other
parties in interest, that each Filing Entity shall be, and hereby is, authorized to file or cause to be
filed a voluntary petition for relief (such voluntary petitions, collectively, the “Chapter 11 Cases”)
under the provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of
Texas (the “Bankruptcy Court”) or other court of competent jurisdiction, and any other petition
for relief or recognition or other order that may be desirable under applicable law in the United
States;

        FURTHER RESOLVED, that the President and Chief Executive Officer, Chief Financial
Officer, Chief Accounting Officer, General Counsel, any Executive Vice President, any Senior
Vice President, any Vice President, any Corporate Secretary, any other duly appointed officer, or
any managing member or general partner, as applicable, of any Filing Entity
(collectively, the “Authorized Officers”), acting alone or with one or more other Authorized
Officers be, and each of them hereby is, authorized, empowered, and directed to take any and all
action that they deem necessary, appropriate, desirable, or proper to obtain such relief, including,
without limitation, any action necessary, appropriate, desirable, or proper to maintain the ordinary
course operation of the Filing Entities’ business, and including the performance or consummation
of any of the Restructuring Transactions;

Debtor-In-Possession Financing, Cash Collateral and Adequate Protection

       FURTHER RESOLVED, that the Filing Entities will obtain benefits from the use of the
Cash Collateral, and that in order to use and obtain the benefits of the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, the Filing Entities will provide certain
adequate protection to the Secured Lenders (the “Adequate Protection Obligations”), as
documented in a proposed interim order (the “Interim DIP Order”) and final order
(the “Final DIP Order” and together with the Interim DIP Order, the “DIP Orders”) and
submitted for approval to the Bankruptcy Court;

        FURTHER RESOLVED, that in the business judgment of the Board, it is desirable and
in the best interests of the Filing Entities, their stakeholders, their creditors, and other parties in
interest, to enter into the DIP Credit Agreement, in form or substantially in the form thereof
submitted to the Board;

                                                    3
        Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 20 of 26




       FURTHER RESOLVED, that the form, terms, and provisions of the DIP Credit
Agreement, and the form, terms, and provisions of the other DIP Credit Agreement Documents
be, and hereby are, authorized, adopted, and approved, and each of the Authorized Officers be,
and hereby is, authorized and empowered, in the name of and on behalf of the Filing Entities, to
take such actions and negotiate or cause to be prepared and negotiated and to execute, deliver,
perform, and cause the performance of the DIP Credit Agreement Documents, and incur and pay
or cause to be paid all fees and expenses and engage such persons, in each case, in the form or
substantially in the form thereof submitted to the Board, with such changes, additions, and
modifications thereto as the officers of the Filing Entities executing the same shall approve, such
approval to be conclusively evidenced by such officers’ execution and delivery thereof;

        FURTHER RESOLVED, that each of the Authorized Officers acting alone and without
the joinder of any other Authorized Officer, is authorized, empowered and directed to take, from
time to time in the name of and on behalf of any Filing Entity such actions necessary to negotiate
the form, terms and provisions of, and to execute and deliver or cause to be delivered, and to cause
the performance of, any swap agreement, and any other commodity, interest rate, foreign exchange
or currency exchange agreement, or other hedging agreement or arrangement, and any and all
transactions of any kind, and the related confirmations, which are subject to the terms and
conditions of, or governed by, any form of master agreement published by the International Swaps
and Derivatives Association, Inc., any International Foreign Exchange Master Agreement or any
other master agreement, in each case, as such Authorized Officer executing the same shall approve
or deem necessary, appropriate, or advisable to carry out the terms, intent and purposes of the DIP
Credit Agreement pursuant to the provisions of the DIP Orders, the execution and delivery thereof
by such Authorized Officer to be deemed conclusive evidence of the approval and ratification
thereof by such Authorized Officer or that such Authorized Officer deemed such standard to be
met;

        FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
the Entities are or will be subject, and the actions and transactions contemplated thereby be, and
hereby are, authorized, adopted, and approved, and each of the Authorized Officers be, and hereby
is, authorized and empowered, in the name of and on behalf of the Filing Entities, to take such
actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and
cause the performance of, the DIP Orders, and such other agreements, certificates, applications,
instruments, receipts, petitions, motions, objections, replies, or other papers or documents to which
the Filing Entities are or will be a party, including, but not limited to, any term sheet, fee letter,
credit agreement, security, and pledge agreement, or guaranty agreement (collectively with the
DIP Orders and the DIP Credit Agreement Documents, the “DIP Documents”), and incur and pay
or cause to be paid all fees and expenses and engage such persons, in each case, in the form or
substantially in the form thereof submitted to the Board, with such changes, additions, and
modifications thereto as the officers of the Filing Entities executing the same shall approve, such
approval to be conclusively evidenced by such officers’ execution and delivery thereof;

       FURTHER RESOLVED, that the Filing Entities, as debtors and debtors in possession
under the Bankruptcy Code be, and hereby are, authorized to incur the Adequate Protection
Obligations and to undertake any and all related transactions on substantially the same terms as
contemplated under the DIP Documents (together, with the transactions contemplated by the


                                                  4
        Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 21 of 26




Adequate Protection Documents            (as   such    term    is   defined    below),    collectively,
the “DIP Transactions”);

        FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, as debtors and debtors in possession, to take such
actions as in their discretion is determined to be necessary, desirable, appropriate, or proper and
execute the DIP Transactions, including delivery of: (a) the DIP Documents; (b) merchant card
services, purchase or debit cards, including non-card e-payables services; (c) any other demand
deposit or operating account relationships or other cash management services; (d) such other
instruments, certificates, notices, assignments, and documents as may be reasonably requested by
the respective agents of the DIP Documents (collectively, the “Agents”); and (e) such forms of
deposit account control agreements, officer’s certificates, and compliance certificates as may be
required by the DIP Documents;

        FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, as debtors and debtors in possession, to file or to
authorize the Agents to file any Uniform Commercial Code (the “UCC”) financing statements,
any other equivalent filings, any intellectual property filings and recordation and any necessary
assignments for security or other documents in the name of the Filing Entities that the Agents deem
necessary or appropriate to perfect any lien or security interest granted under the DIP Orders,
including any such UCC financing statement containing a generic description of collateral, such
as “all assets,” “all property now or hereafter acquired” and other similar descriptions of like
import, and to execute and deliver, and to record or authorize the recording of, such mortgages and
deeds of trust in respect of real property of the Filing Entities and such other filings in respect of
intellectual and other property of the Filing Entities, in each case as the Agents may reasonably
request to perfect the security interests of the Agents under the DIP Orders;

       FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, as debtors and debtors in possession, to take all
such further actions, including, without limitation, to pay or approve the payment of all fees and
expenses payable in connection with the DIP Transactions and all fees and expenses incurred by
or on behalf of the Filing Entities in connection with the foregoing resolutions, in accordance with
the terms of the DIP Documents, which shall in their sole judgment be necessary, proper, or
advisable to perform any of the Filing Entities’ obligations under or in connection with the DIP
Orders or any of the other DIP Documents and the transactions contemplated therein and to fully
carry out the intent of the foregoing Resolutions;

Backstop Commitment Agreement

         FURTHER RESOLVED, that in the business judgment of the Board, it is desirable and
in the best interests of the Filing Entities, their stakeholders, their creditors, and other parties in
interest, to enter into the Backstop Commitment Agreement and that the Filing Entities’
performance of their obligations under the Backstop Commitment Agreement, and all other
exhibits, schedules, attachments, and ancillary documents or agreements related thereto, hereby is,
in all respects, authorized, and approved;
                                                    5
        Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 22 of 26




       FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, to take all actions necessary to enter into the
Backstop Commitment Agreement and all other exhibits, schedules, attachments, and ancillary
documents or agreements related thereto;

Exit Financing

        RESOLVED, that the execution and delivery of the Exit Financing Credit Documents (and
the incurrence of the obligations thereunder) by the Company and each Filing Entity, as applicable,
in the form substantially consistent with the Exit Financing Term Sheet previously submitted to
the Board, and the consummation of the transactions contemplated thereunder, including (i) the
execution, delivery and performance of all other agreements, instruments, documents, notices, or
certificates constituting exhibits to or that may be required, necessary, appropriate, desirable, or
advisable to be executed and delivered pursuant to the Exit Financing Credit Documents or
otherwise permitted thereunder or related thereto, including interest rate, currency, or commodity
hedging arrangements (each, an “Additional Credit Document” and collectively, the
“Additional Credit Documents”), (ii) any granting of security interests and/or guarantees in
relation thereto, and (iii) the making of representations and compliance with the covenants
thereunder and the assumption of any obligations under and in respect of any of the foregoing, are
hereby authorized and approved, and that each of the Authorized Officers of each Filing Entity, as
applicable, acting alone or with one or more Authorized Officers, with power of delegation, be,
and each of them hereby is, severally authorized, empowered, and directed in the name of, and on
behalf of, such Filing Entity, to execute and deliver each Exit Financing Credit Document to which
such Filing Entity is a party, with such changes therein and additions thereto as any such
Authorized Officer, in his or her sole discretion, may deem necessary, convenient, appropriate,
advisable, or desirable, the execution and delivery of such Exit Financing Credit Documents and
with any changes thereto by any such Authorized Officer, to be conclusive evidence that such
Authorized Officer deemed such changes to meet such standard;

        RESOLVED, that, as used herein, the term “Additional Credit Documents” shall include,
but not be limited to any intercreditor agreements and all other documents, certificates, or
agreements necessary, proper, or advisable to consummate the transactions contemplated by the
Exit Financing Credit Documents, including, without limitation, any note, fee letter, guarantee
agreement, security agreement, mortgage, pledge, intellectual property security interest agreement,
intellectual property security agreement, or other documentation similar to any of the foregoing;

         RESOLVED, that each of the Authorized Officers of each Filing Entity, as applicable,
acting alone or with one or more Authorized Officers, with power of delegation, be, and each of
them hereby is, severally authorized in the name of, and on behalf of, such Filing Entity, to take
all actions including, without limitation, (i) the negotiation, execution, delivery, and filing of any
agreements, certificates, instruments, or documents (including mortgages, financing statements,
and similar documents), (ii) the modification, restatement, or amendment of any of the terms and
conditions of any Exit Financing Credit Document, (iii) the payment of any consideration, and (iv)
the payment of indemnitees, fees, costs, expenses, and taxes as any such Authorized Officer, in his
or her sole discretion, may deem necessary, appropriate, or advisable (such acts to be conclusive
evidence that such Authorized Officer deemed the same to meet such standard) in order to effect
the transactions contemplated under any Exit Financing Credit Document.
                                                   6
        Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 23 of 26




Retention of Professionals

       FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, to employ the law firms of Kirkland & Ellis LLP,
as general bankruptcy counsel, and Jackson Walker LLP, as local bankruptcy counsel, to represent
and assist the Filing Entities in carrying out their duties under the Bankruptcy Code, and to take
any and all actions to advance the Filing Entities’ rights and obligations, including filing any
motions, objections, replies, applications, or pleadings; and in connection therewith, each of the
Authorized Officers, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed appropriate
applications for authority to retain the services of Kirkland & Ellis LLP and Jackson Walker LLP;

        FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, to employ the firms of Rothschild & Co and
Intrepid Financial Partners, as financial advisors and investment bankers, to represent and assist
the Filing Entities in carrying out their duties under the Bankruptcy Code, and to take any and all
actions to advance the Filing Entities’ rights and obligations; and in connection therewith, each of
the Authorized Officers is, with power of delegation, hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Rothschild & Co and Intrepid Financial Partners;

        FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, to employ the firm of Alvarez & Marsal North
America, LLC, as restructuring advisor, to represent and assist the Filing Entities in carrying out
their duties under the Bankruptcy Code, and to take any and all actions to advance the Filing
Entities’ rights and obligations; and in connection therewith, each of the Authorized Officers is,
with power of delegation, hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of Alvarez & Marsal North America, LLC;

        FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, to employ the firm of Epiq Corporate
Restructuring, LLC as notice, claims, and balloting agent to represent and assist the Filing Entities
in carrying out their duties under the Bankruptcy Code, and to take any and all actions to advance
the Filing Entities’ rights and obligations; and in connection therewith, each of the Authorized
Officers, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of Epiq Corporate Restructuring, LLC;

       FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, to employ the firm of Ernst & Young LLP as tax
advisor, to represent and assist the Filing Entities in carrying out their duties under the Bankruptcy
Code, and to take any and all actions to advance the Filing Entities’ rights and obligations; and in
                                                   7
        Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 24 of 26




connection therewith, each of the Authorized Officers, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of Ernst & Young
LLP;

        FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, to employ the firm of Wachtell, Lipton, Rosen
& Katz as counsel to the Board, to represent and assist the Filing Entities in carrying out their
duties under the Bankruptcy Code, and to take any and all actions to advance the Filing Entities’
rights and obligations; and in connection therewith, each of the Authorized Officers, with power
of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Wachtell, Lipton, Rosen & Katz;

        FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, to employ any other professionals to assist the
Filing Entities in carrying out their duties under the Bankruptcy Code and in their performance of
any of the Restructuring Transactions or the DIP Transactions, and in connection therewith, each
of the Authorized Officers, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of any other professionals as necessary;

         FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in
the name of, and on behalf of, the Filing Entities, to execute and file all petitions, schedules,
motions, objections, replies, applications, pleadings, lists, and other papers and, in connection
therewith, to employ and retain all assistance by legal counsel, accountants, investment bankers,
financial advisors, restructuring advisors, and other professionals and to take and perform any and
all further acts and deeds that each of the Authorized Officers deem necessary, proper, or desirable
in connection with the Filing Entities’ Chapter 11 Cases, with a view to the successful prosecution
of such cases;

General Resolutions

        FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of the Filing
Entities, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
Authorized Officer’s or Authorized Officers’ judgment, shall be necessary, appropriate, desirable,
or proper in order to fully carry out the intent and accomplish the purposes of the Resolutions
adopted herein, including the consummation of the Restructuring Transactions and the DIP
Transactions;


                                                  8
        Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 25 of 26




        FURTHER RESOLVED, that the Board has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing Resolutions, including the
Restructuring Transactions and the DIP Transactions, as may be required by the organizational
documents of any Filing Entity, or hereby waives any right to have received such notice;

        FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing Resolutions done in the name of and on behalf of the Filing Entities,
which acts would have been approved by the foregoing Resolutions except that such acts were
taken before the adoption of these Resolutions, are hereby in all respects approved, confirmed, and
ratified as the true acts and deeds of the Filing Entities with the same force and effect as if each
such act, transaction, agreement, or certificate has been specifically authorized in advance by
resolution of the Board; and

        FURTHER RESOLVED, that each of the Authorized Officers (and their designees and
delegates) be, and hereby is, authorized and empowered to take all actions or to not take any action
in the name of and on behalf of the Filing Entities with respect to the transactions contemplated
by these Resolutions hereunder as such Authorized Officer shall deem necessary, appropriate,
desirable, or proper in such Authorized Officer’s reasonable business judgment as may be
necessary, appropriate, desirable, or proper to effectuate the purposes of the transactions
contemplated herein.




                                                 9
Case 20-33233 Document 1 Filed in TXSB on 06/28/20 Page 26 of 26




                              Schedule 1

          Filing Subsidiaries of Chesapeake Energy Corporation

                  Subsidiary                  Jurisdiction of Formation
        Brazos Valley Longhorn, L.L.C.             Delaware (U.S.)
     Brazos Valley Longhorn Finance Corp.          Delaware (U.S.)
              Burleson Sand LLC                    Delaware (U.S.)
        Burleson Water Resources, LLC                Texas (U.S.)
      Chesapeake AEZ Exploration, L.L.C.           Oklahoma (U.S.)
        Chesapeake Appalachia, L.L.C.              Oklahoma (U.S.)
    Chesapeake-Clements Acquisition, L.L.C.        Oklahoma (U.S.)
       Chesapeake E&P Holding, L.L.C.              Oklahoma (U.S.)
      Chesapeake Energy Louisiana, LLC             Oklahoma (U.S.)
     Chesapeake Energy Marketing, L.L.C.           Oklahoma (U.S.)
        Chesapeake Exploration, L.L.C.             Oklahoma (U.S.)
Chesapeake Land Development Company, L.L.C.        Oklahoma (U.S.)
          Chesapeake Louisiana, L.P.               Oklahoma (U.S.)
  Chesapeake Midstream Development, L.L.C.         Oklahoma (U.S.)
     Chesapeake NG Ventures Corporation            Oklahoma (U.S.)
         Chesapeake Operating, L.L.C.              Oklahoma (U.S.)
            Chesapeake Plains, LLC                 Oklahoma (U.S.)
          Chesapeake Royalty, L.L.C.               Oklahoma (U.S.)
           Chesapeake VRT, L.L.C.                  Oklahoma (U.S.)
          CHK Energy Holdings, Inc.                  Texas (U.S.)
     CHK NGV Leasing Company, L.L.C.               Oklahoma (U.S.)
              CHK Utica, L.L.C.                    Delaware (U.S.)
        Compass Manufacturing, L.L.C.              Oklahoma (U.S.)
                 EMLP, L.L.C.                      Oklahoma (U.S.)
               Empress, L.L.C.                     Oklahoma (U.S.)
       Empress Louisiana Properties, L.P.            Texas (U.S.)
          Esquisto Resources II, LLC                 Texas (U.S.)
                  GSF, L.L.C.                      Oklahoma (U.S.)
        MC Louisiana Minerals, L.L.C.              Oklahoma (U.S.)
         MC Mineral Company, L.L.C.                Oklahoma (U.S.)
         MidCon Compression, L.L.C.                Oklahoma (U.S.)
            Nomac Services, L.L.C.                 Oklahoma (U.S.)
Northern Michigan Exploration Company, L.L.C.      Michigan (U.S.)
         Petromax E&P Burleson, LLC                  Texas (U.S.)
            Sparks Drive SWD, Inc.                 Delaware (U.S.)
              WHE AcqCo., LLC                      Delaware (U.S.)
             WHR Eagle Ford LLC                    Delaware (U.S.)
         WildHorse Resources II, LLC               Delaware (U.S.)
WildHorse Resources Management Company, LLC        Delaware (U.S.)
       Winter Moon Energy Corporation              Oklahoma (U.S.)
